Case 2:19-mj-03873-DUTY Document 3 Filed 09/23/19 Pagelof3 Page ID #:37

> “Case 2:19-mj-03873-DUTY *SEALED* Document 1-2 ccm GRIGINAL pace Lof2

 

 

Page ID #:17
United States District Court
CENTRAL DISTRICT OF CALIFORNIA

 

Jn the Matter of the Seizure of

(Address ox Brief description of property or premises to be seized)

ONE 1963 REPLICA FORD MUSTANG COBRA,
35943
VIN AZ359431 CASE NUMBER: 2:19-mj-03873

SEIZURE WARRANT

TO: Department of Defense, Office of Inspector General, Defense Criminal Investigative Service, the United States Marshals
Service, and any Authorized Officer of the United States, Affidavit(s) having been made before me by Special Agent Sarine A. Tooma
who has reason to believe that in the Central District of California there is now certain property which is subject to forfeiture to the

United States, namely (describe the property to be seized)
ONE 1963 REPLICA FORD MUSTANG COBRA, VIN AZ359431

 

which is (sfate one or more bases for seizure under United States Code)

_ Subject to seizure and forfeiture under 18 U.S.C. § 981(b), and 18 U.S.C, § 981(a)(1)(C), as well as 18 U.S.C. § 982(b)
and 21 U.S.C § 853(f)

concerning violations of: a. 18 U.S.C, § 1341 Gmail fraud); b. 18 U.S.C. § 1343 (wire fraud); c. 18 U.S.C. § 1347 (health
care fraud); d, 18 U.S.C. § 1349 (conspiracy to commit fraud); e. 18 U.S.C. § 1956 (conspiracy to commit money
laundering); £. 18 U.S.C. § 1028(A) (aggravated identity fraud); g. 18 U.S.C. § 371 (conspiracy to pay illegal remunerations
for health care related purchases); h, 42 U.S.C. § 1320a-7b(b) (illegal remunerations for health care related purchases).

Lam satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that the property so described is subject
to seizure and that grounds exist for the issuance of this seizure warrant,

YOU ARE HEREBY COMMANDED to seize within 14 days the property specified, serving this warrant and making the seizure in the
daytime - 6:00 A.M. to 10:00 P.M., leaving a copy of this warrant and receipt for the property seized, and prepare a written inventory
of the property seized and promptly return this warrant to the undersigned judicial officer as required by law,

Wie I y Los Angeles, California
Date . fe Vit )
Honorable Patrick Walsh, U.S. Magistrate Judge / 4. Le fe Yifplet,

Title of Judicial Officer Signature of Judicial Officgt

 

AUSA Jonathan Galatzan

 
 

Case 2:19-mj-03873-DUTY Document 3 Filed 09/23/19 Page2of3 Page ID #:38

Case 2:19-mj-03873-DUTY *SEALED* Document 1-2 *SEALED* Filed 09/16/19 Page 2 of 2

 

 

 

 

 

 

 

 

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DATE WARRANT RECEIVED DATE AND TIMB WARRANT EXECUTED Ore OR WARRANT AND RECEIPT FOR ITEMS LEFT
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INVENTORY MADE IN THE PRESENCE OF

Sanne Trema, Spectal Agent, PCS

 

INVENTORY OF PROPERTY SEIZED PURSUANT TO THE WARRANT
One 196% Roghtaa Ford Mustang Copa
VIN # AZ 359423)
Cdomoher: \bl@

 

 

 

 

 

 

 

CERTIFICATION

 

I declare under penalty of perjury that Jaman officer who executed this warrant and that this inventory is correct and will be
rehuned through a filing with the Clerk's Office.

pate, 9/16 dai, Wl dlion.

Exeduting Officer's Signature

Lake Gneuams — btturd us. ARSRAL
Printed Name and Title

 

 

 

 

 

 
Case 2:19-mj-03873-DUTY Document 3 Filed 09/23/19 Page 3of3 Page ID #:39

DEFENSE CRIMINAL INVESTIGATIVE SERVICE SEIZED PROPERTY CUSTODY DOCUMENT

 

 

 

 

 

 

 

 

 

 

 

 

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aS |201500222)\ IS-EC-OOAIO| GAL/|9..
NAME OF PERSON FROM OM PROPERTY SEIZED LOCATION WHERE PROPERTY § EIZED , :
Navid Vahed Slo N- Bail) Read, los Angeles
CASE TITLE ° “
- yf
Fusion RX CA 90049
ITEM QUANTITY DISPOSITION DESCRIPTION OF PROPERTY - MODEL NUMBER, SERIAL NUMBER, IDENTIFYING MARKS, CONDITION, AND
ACTION VALUE WHEN APPROPRIATE.
yan la Replica. Fara Mus Cabe.

VIN # AZ. 35943)
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